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                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA




 1                   UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
 2                         EASTERN DIVISION
 3   UNITED STATES OF AMERICA,                1:18-CR-385-KOB-JEO
 4              V.                            MARCH 7, 2019
 5   RONTAVUS DEANDRE THREATT,                 BIRMINGHAM, ALABAMA
 6            DEFENDANT.
 7   * * * * * * * * * * * * *
 8                    TRANSCRIPT OF GUILTY PLEA
          BEFORE THE HONORABLE SHARON LOVELACE BLACKBURN,
 9                  UNITED STATES DISTRICT JUDGE
     APPEARANCES:
10
     FOR THE UNITED STATES:
11
     GREGORY R. DIMLER, ESQ.
12
     ASSISTANT UNITED STATES ATTORNEY
13
     BIRMINGHAM, ALABAMA
14

15
     FOR THE DEFENDANT:
16
     GLENNON F. THREATT, ESQ.
17
     ASSISTANT FEDERAL PUBLIC DEFENDER
18
     BIRMINGHAM, ALABAMA
19

20
     COURT REPORTER:
21
     LINDY M. FULLER, RMR, CRR, CRC
22
     FEDERAL OFFICIAL COURT REPORTER
23
     BIRMINGHAM, ALABAMA
24

25
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 1                       P R O C E E D I N G S
 2                  THE COURT:     WE ARE HERE IN THE CASE OF
 3    UNITED STATES OF AMERICA V. RONTAVUS DEANDRE
 4    THREATT, CR-18-385.
 5                  MR. THREATT, AM I PRONOUNCING HIS NAME
 6    CORRECTLY?
 7                  MR. THREATT:      YOU ARE, YOUR HONOR.
 8                  THE COURT:     IF YOU AND YOUR COUNSEL
 9    WILL COME TO THE PODIUM.
10                  AND I THINK FOR THE RECORD, WE SHOULD
11    ESTABLISH THAT YOU AND THE DEFENDANT HAVE NO
12    RELATION; IS THAT CORRECT?           IF YOUR NAMES ARE
13    SPELLED CORRECTLY.
14                  MR. THREATT:      I CAN'T SAY THAT WE ARE
15    NOT RELATED, YOUR HONOR.          BUT IF IT IS, IT'S SO
16    DISTANT THAT I HAVE NEVER KNOWN HIM BEFORE THIS
17    CASE IS CONCERNED.
18                  THE COURT:     AND YOU HAVEN'T MADE A
19    CONNECTION THAT SHOWS THAT YOU ARE RELATED?                I
20    DON'T THINK THAT MATTERS, BUT I JUST THINK WE
21    SHOULD HAVE IT CLEAR FOR THE FUTURE IN CASE WE
22    NEED TO.
23                  MR. THREATT:      I HAVE NOT, JUDGE.
24                  THE COURT:     IN TALKING TO HIM, YOU ALL
25    HAVE NOT MADE A CONNECTION THAT YOU ARE RELATED;
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 1    IS THAT WHAT YOU ARE SAYING?
 2                  MR. THREATT:      THAT'S WHAT I AM SAYING.
 3                  THE COURT:     AGAIN, I DON'T THINK IT
 4    MATTERS AT ALL, I JUST THOUGHT WE SHOULD PUT IT
 5    ON THE RECORD.
 6                  ALL RIGHT.     MR. THREATT, YOU EARLIER
 7    ENTERED A PLEA OF NOT GUILTY TO CHARGES IN AN
 8    INDICTMENT WHICH IS DOCKETED IN THIS COURT IN THE
 9    SUPERSEDING INDICTMENT WHICH IS DOCKETED
10    CR-18-385.      YOU AND YOUR ATTORNEY ARE HERE TODAY
11    BECAUSE THE COURT HAS BEEN ADVISED THAT YOU
12    DESIRE TO WITHDRAW YOUR PLEA OF NOT GUILTY TO
13    COUNTS ONE, TWO, THREE, FOUR, FIVE, AND SIX OF
14    THE SUPERSEDING INDICTMENT.
15                  DO YOU NOW WISH TO WITHDRAW YOUR
16    EARLIER PLEA OF NOT GUILTY TO THOSE COUNTS?
17                  THE DEFENDANT:       YES, MA'AM.
18                  THE COURT:     THE WITHDRAWAL IS ALLOWED.
19    AND WHAT IS YOUR PLEA TO COUNTS ONE, TWO, THREE,
20    FOUR, FIVE, AND SIX TO THE SUPERSEDING
21    INDICTMENT.
22                  THE DEFENDANT:      GUILTY.
23                  THE COURT:     BEFORE ACCEPTING YOUR PLEA
24    OF GUILTY, THERE ARE CERTAIN MATTERS INTO WHICH I
25    MUST INQUIRE AND THIS WILL NECESSITATE YOU BEING
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 1    PLACED UNDER OATH.
 2                  I WANT TO POINT OUT TO YOU THAT WHILE
 3    UNDER OATH, I MAY ASK YOU CERTAIN QUESTIONS THAT
 4    ARE PERTINENT TO THE CHARGES IN THE INDICTMENT --
 5    AND WHEN I SAY INDICTMENT, I AM ALWAYS REFERRING
 6    TO THE SUPERSEDING INDICTMENT -- BUT MAY BE
 7    PERTINENT TO THE SUPERSEDING INDICTMENT AND OTHER
 8    MATTERS WHICH MAY BE PERTINENT LATER TO YOUR
 9    SENTENCING.
10                  ANY RESPONSES TO MY QUESTIONS MUST BE
11    FULL, COMPLETE, AND ACCURATE, AND A FALSE
12    RESPONSE COULD SUBJECT YOU TO PROSECUTION FOR
13    PERJURY OR FALSE STATEMENT.
14                  DO YOU UNDERSTAND?
15                  THE DEFENDANT:      YES, MA'AM.
16                  THE COURT:     DO YOU STILL DESIRE TO
17    ENTER YOUR PLEA OF GUILTY?
18                  THE DEFENDANT:       YES, MA'AM.
19                  THE COURT:     ALL RIGHT.      I AM GOING TO
20    REQUEST THAT YOU BE PLACED UNDER OATH AT THIS
21    TIME.
22                       (DEFENDANT DULY SWORN.)
23                  THE COURT:     MR. THREATT, IF ANYTHING IS
24    SAID HERE TODAY OR TAKES PLACE HERE TODAY THAT
25    YOU DO NOT UNDERSTAND OR FULLY UNDERSTAND, I WANT
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 1    YOU TO INTERRUPT THE PROCEEDINGS AND EITHER ASK
 2    ME TO CLEAR IT UP FOR YOU OR ALLOW YOU AN
 3    OPPORTUNITY TO SPEAK IN PRIVATE WITH YOUR LAWYER.
 4                  DO YOU UNDERSTAND?
 5                  THE DEFENDANT:      YES, MA'AM.
 6                  THE COURT:     IT'S NOT UNCOMMON FOR PLEAS
 7    OF GUILTY TO BE OFFERED IN RELIANCE ON A PLEA
 8    BARGAIN OR PLEA AGREEMENT BETWEEN THE DEFENDANT,
 9    THE DEFENDANT'S ATTORNEY, AND THE U.S. ATTORNEY'S
10    OFFICE.     PLEA BARGAINS -- WELL, ACTUALLY, IN THIS
11    CASE, IT WOULD BE BINDING ON THE COURT.              AND IN
12    THAT REGARD, BECAUSE IT'S A (C)(1)--
13                  MR. THREATT:      YES, MA'AM.
14                  THE COURT:     IF THE COURT ACCEPTS YOUR
15    PLEA OF GUILTY, THE SENTENCE THAT'S BEEN AGREED
16    TO BETWEEN YOU, YOUR ATTORNEY, AND THE U.S.
17    ATTORNEY'S OFFICE WOULD BE BINDING ON THE COURT
18    AT THE TIME OF SENTENCING.
19                  SO, ASSUMING WE GET THROUGH THE WHOLE
20    DAY AND I THINK THAT THE PLEA SHOULD BE ACCEPTED,
21    I WILL CONDITIONALLY ACCEPT IT.            AND WHAT THAT
22    MEANS IS THAT AT THE TIME OF SENTENCING -- CHIEF
23    JUDGE BOWDRE WILL BE SENTENCING YOU UNLESS SHE
24    ASKS ME TO DO IT, BUT I THINK SHE IS GOING TO DO
25    IT.
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 1                  IF, AT THE TIME OF SENTENCING -- AND I
 2    HAVE COMMUNICATED WITH HER THIS MORNING BY EMAIL
 3    ABOUT THIS.
 4                  IF SHE DETERMINES AT THE TIME YOU ARE
 5    SENTENCED, AFTER REVIEWING THE PRESENTENCE
 6    REPORT, THAT SHE THINKS THAT 19 YEARS IS -- WHAT
 7    DOES THAT CALCULATE TO IN MONTHS?
 8                  MR. DIMLER:     YOUR HONOR, IT'S 228
 9    MONTHS.
10                  THE COURT:     SINCE WE SENTENCE IN MONTHS
11    IN THE FEDERAL SYSTEM, IF SHE DETERMINES 228
12    MONTH IS TOO SHORT A TERM AND THAT SHE THINKS YOU
13    SHOULD BE SENTENCED TO LONGER, YOU WILL BE
14    ALLOWED TO WITHDRAW YOUR PLEA OF GUILTY.
15                  AND ON OTHER SIDE OF THAT EQUATION, IF
16    SHE DETERMINES, AFTER REVIEWING THE PRESENTENCE
17    REPORT, THAT SHE THINKS 19 YEARS, 228 MONTHS, IS
18    TOO LONG A SENTENCE, THEN THE AGREEMENT IS NULL
19    AND VOID AND THE GOVERNMENT CAN PROCEED AS IT
20    WISHES, WHETHER IT WISHES TO ACCEPT HER LOWER
21    SENTENCE OR WHETHER IT WISHES TO GO TO TRIAL.
22                  SO, LET ME FIRST ASK, MR. THREATT, DID
23    YOU UNDERSTAND WHAT I JUST SAID?            I AM GOING TO
24    GO A LITTLE FURTHER INTO A DISCUSSION OF THE PLEA
25    AGREEMENT.      BUT DO YOU UNDERSTAND WHAT I HAVE
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 1    SAID?
 2                  THE DEFENDANT:      YES, MA'AM.
 3                  THE COURT:     AND DOES THE U.S. ATTORNEY
4     UNDERSTAND?
 5                  MR. DIMLER:     YES, YOUR HONOR.
 6                  THE COURT:     JUST TO SAY IT ONE MORE
 7    TIME, I AM GOING TO, AT THE END OF THE DAY OR
 8    DISCUSSION THIS MORNING, THAT I JUST DECIDE THAT
 9    EVERYTHING IS APPROPRIATE FOR ME TO ACCEPT THE
10    PLEA, I AM GOING TO ACCEPT IT BUT CONDITIONAL, A
11    CONDITIONAL PLEA.        BECAUSE ONCE THE PRESENTENCE
12    REPORT COMES IN, JUDGE BOWDRE MAY DETERMINE
13    THAT'S TOO LONG OR TOO SHORT A SENTENCE.
14                  THE WAY IT'S DONE NOW, IT'S BINDING ON
15    THE COURT.      JUDGE BOWDRE WOULD HAVE TO IMPOSE THE
16    SENTENCE OF 228 MONTHS.          SHE MAY DECIDE IT'S TOO
17    LONG OR SHE MAY DECIDE IT'S TOO SHORT.              IF SHE
18    DECIDES IT'S TOO SHORT A SENTENCE, THAT YOU
19    DESERVE LONGER THAN 228 MONTHS, YOU WILL HAVE THE
20    RIGHT TO WITHDRAW YOUR PLEA OF GUILTY.
21                  DO YOU UNDERSTAND?
22                  THE DEFENDANT:      YES, MA'AM.
23                  THE COURT:     ALL RIGHT.      BUT, LET ME AT
24    THIS POINT ASK THE ASSISTANT U.S. ATTORNEY TO --
25    LET ME, JUST BEFORE I DO THAT, EVEN THOUGH IT'S A
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 1    BINDING PLEA, AS I SAY, BECAUSE IT'S A
 2    CONDITIONAL ACCEPTANCE, IF I ACCEPT IT, IT'S NOT
 3    BINDING ON THE COURT.         SHE MAY DECIDE NOT TO
 4    ACCEPT IT, BUT EITHER SIDE WOULD HAVE THE RIGHT
 5    TO WITHDRAW FROM THE PLEA AGREEMENT AT THAT TIME.
 6                  DO YOU UNDERSTAND?
 7                  THE DEFENDANT:      YES, MA'AM.
 8                  THE COURT:     ALL RIGHT.      IF YOU WILL
 9    STATE THE TERMS FOR THE COURT.
10                  MR. DIMLER:     THANK YOU, YOUR HONOR.
11                       YOUR HONOR, IN CONSIDERATION FOR
12    THE DEFENDANT'S PLEAS OF GUILTY TO COUNTS ONE,
13    TWO, THREE, FOUR, FIVE, AND SIX OF THE
14    SUPERSEDING INDICTMENT, THE GOVERNMENT HAS AGREED
15    TO DISMISS COUNTS SEVEN AND EIGHT WITHOUT
16    PREJUDICE AT SENTENCING.
17                  IN ADDITION TO THAT YOUR HONOR, WE ARE
18    AGREEING TO A STIPULATED SENTENCE AS YOUR HONOR
19    REFERRED TO PURSUANT TO FEDERAL RULE OF CRIMINAL
20    PROCEDURE 11(C)(1)(C), SPECIFICALLY A SENTENCE OF
21    228 MONTHS, WHICH IS EQUAL TO 19 YEARS
22    IMPRISONMENT, YOUR HONOR.
23                  THE COURT:     ALL RIGHT.      MR. THREATT,
24    ATTORNEY, IS THERE ANYTHING YOU NEED TO ADD TO
25    THAT STATEMENT ON BEHALF OF YOUR CLIENT?
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 1                  MR. THREATT:      I DO, YOUR HONOR.        WHAT
 2    I WOULD SAY IS THAT THE PLEA AGREEMENT DISMISSES
 3    COUNT SIX, WHICH IS A 922(G) COUNT TO WHICH WE
 4    BELIEVE MR. THREATT WOULD BE AN ARMED CAREER
 5    CRIMINAL.
 6                  THE COURT:     HOLD ON ONE SECOND NOW.
 7                  MR. DIMLER:     COUNT SEVEN.
 8                  MR. THREATT:      COUNT SEVEN, YOUR HONOR.
 9                  THE COURT:     I DIDN'T CATCH -- DID YOU
10    NOT SAY YOU WOULD DISMISS COUNT SEVEN?
11                  MR. DIMLER:     IF I DID, YOUR HONOR, I
12    MAY HAVE MISSPOKE.
13                  MR. THREATT:      DISMISSING SEVEN AND
14    EIGHT, JUDGE.
15                  THE COURT:     DISMISSING SEVEN AND EIGHT.
16    ANYTHING ELSE?
17                  MR. THREATT:      AND TO COUNT EIGHT, TO
18    WHICH HE WOULD BE CAREER OFFENDER AS TO A 924(C)
19    COUNT.     AND, YOUR HONOR, WE ALSO SOLICITED THE
20    INPUT OF THE UNITED STATES PROBATION OFFICE TO
21    GIVE US AN INFORMAL ADVISORY GUIDELINE THAT I
22    USED TO ADVISE MY CLIENT DURING THE PLEA
23    NEGOTIATIONS.
24                  THE COURT:     AND THE REASON I INQUIRED
25    ABOUT THAT IS THIS MORNING, THROUGH MY LAW CLERK,
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 1     AND I THINK MR. DIMLER EVENTUALLY GAVE ME AN
 2     ANSWER, I KNEW -- WELL, I DON'T WANT TO SAY, THAT
 3     YOU WOULD HAVE NOT AGREED TO THIS SENTENCE UNLESS
 4     HE WAS FACING A REALLY LONG PRISON TERM.             AND
 5     WHAT I UNDERSTOOD IS YOUR TENTATIVE UNDERSTANDING
 6     OF THE GUIDELINES ARE 362 TO -- 262 TO POSSIBLY
 7     LIFE IF YOU DIDN'T DISMISS THE COUNT.
 8                  MR. DIMLER:     262 TO 324.      BUT YOUR
 9     HONOR, THAT IS INCLUDING THREE LEVELS FOR
10     ACCEPTANCE.     SO, WITH THIS DEAL, MR. THREATT IS
11     REALLY LOOKING AT SHAVING SOMEWHERE IN THE
12     NEIGHBORHOOD OF 40 MONTHS OFF THE SENTENCE HE
13     WOULD RECEIVE.
14                  THE COURT:     THEY WOULD ALSO, I TAKE IT,
15     IF YOU DIDN'T DISMISS COUNTS SEVEN AND EIGHT, HE
16     COULD BE FACING UP TO LIFE?
17                  MR. DIMLER:      IT COULD BE A LOT MORE.
18                  THE COURT:     UP TO LIFE, RIGHT?
19                  MR. DIMLER:     RIGHT.
20                  MR. THREATT:      MORE THAN LIFE.
21                  THE COURT:     MORE THAN LIFE.       AGAIN,
22     NORMALLY, AS YOU KNOW, WE DON'T CHECK INTO THAT.
23     AND YOU SHOULDN'T CONSIDER THAT DEFINITIVE,
24     ALTHOUGH I AM SURE YOUR ATTORNEY CAREFULLY
25     CHECKED INTO WHAT YOU WOULD BE FACING.
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 1                  SO, I THINK HE SAID WHAT THE PLEA
 2     AGREEMENT WAS.      YOU JUST CLARIFIED TO SHOW THAT
 3     HE WAS DISMISSING COUNTS SEVEN AND EIGHT,
 4     CORRECT?
 5                  MR. THREATT:      THAT'S CORRECT, YOUR
 6     HONOR.
 7                  THE COURT:     ALL RIGHT.     ANY OTHER
 8     THINGS ON THE PLEA AGREEMENT THAT I NEED TO KNOW
 9     ABOUT?
10                  MR. THREATT:      NO, YOUR HONOR.
11                  THE COURT:     MR. THREATT, DEFENDANT, DO
12     YOU HAVE ANY DIFFERENT UNDERSTANDING OF THE PLEA
13     AGREEMENT OTHER THAN WHAT WAS STATED BY THE U.S.
14     ATTORNEY AND YOUR ATTORNEY?
15                  THE DEFENDANT:      NO, MA'AM.
16                  THE COURT:     OTHER THAN THE PLEA
17     AGREEMENT THAT WE HAVE JUST DISCUSSED, HAS ANYONE
18     PROMISED YOU ANYTHING OR THREATENED YOU IN ANY
19     WAY IN ORDER TO INDUCE YOU TO ENTER A PLEA OF
20     GUILTY?
21                  THE DEFENDANT:      NO, MA'AM.
22                  THE COURT:     DO YOU UNDERSTAND IF I
23     CONDITIONALLY ACCEPT YOUR PLEA OF GUILTY TODAY
24     THAT ALL THAT REMAINS IS FOR SENTENCE TO BE
25     IMPOSED?    DO YOU UNDERSTAND THAT?
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 1                  IF I ACCEPT YOUR PLEA OF GUILTY TODAY,
 2     THE ONLY THING LEFT TO DO IS FOR A COURT, EITHER
 3     JUDGE BOWDRE OR ME OR ANOTHER FEDERAL JUDGE, TO
 4     SENTENCE YOU.      ALL THAT'S LEFT IS SENTENCING.
 5                  THE DEFENDANT:      YES, MA'AM.
 6                  THE COURT:     YOU UNDERSTAND THAT?
 7                  THE DEFENDANT:      YES, MA'AM.
 8                  THE COURT:     NOW, I AM GOING TO GO OVER,
 9     FOR EACH OF THE COUNTS THAT YOU ARE PLEADING
10     GUILTY TO, GOING TO GO OVER THE MAXIMUM SENTENCES
11     YOU ARE FACING ON EACH COUNT.
12                  DO YOU UNDERSTAND?
13                  THE DEFENDANT:       YES, MA'AM.
14                  THE COURT:     ALL RIGHT.     SO, DO YOU
15     UNDERSTAND FOR COUNTS ONE AND THREE, THE MAXIMUM
16     SENTENCE YOU ARE FACING -- HOLD ON A SECOND.
17                  I WOULD LIKE THE ATTORNEYS TO CHECK ME
18     ON THIS AS I GO THROUGH.
19                  FIRST OF ALL, WAS THERE AN INFORMATION
20     FILED?
21                  MR. DIMLER:     THERE WAS NOT, YOUR HONOR.
22                  THE COURT:     A CUSTODIAL SENTENCE OF NOT
23     MORE THAN 20 YEARS PER COUNT; A FINE OF NOT MORE
24     THAN $1 MILLION DOLLARS PER COUNT; A SUPERVISED
25     RELEASE TIME OF NOT LESS THAN THREE YEARS PER
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 1     COUNT; AN ASSESSMENT FEE OF $100, PLUS COMMUNITY
 2     RESTITUTION.
 3                  DO YOU UNDERSTAND THAT'S THE MAXIMUM
 4     SENTENCE YOU ARE FACING ON A PLEA OF GUILTY TO
 5     COUNTS ONE AND THREE?
 6                  THE DEFENDANT:      YES, MA'AM.
 7                  THE COURT:     AGAIN, IF I STATE SOMETHING
 8     YOU ALL THINK I HAVE LEFT -- BECAUSE THIS IS KIND
 9     OF A COMPLICATED CASE, BE SURE TO TELL ME.
10                  DO YOU UNDERSTAND THE MAXIMUM SENTENCE
11     YOU ARE FACING ON A PLEA OF GUILTY TO COUNTS TWO
12     AND FOUR WHICH CHARGE YOU WITH VIOLATING TITLE 18
13     U.S. CODE SECTION 924(C)(1)(A)(I), IS A CUSTODIAL
14     SENTENCE OF NOT LESS THAN FIVE YEARS BUT NOT MORE
15     THAN LIFE PER COUNT; A FINE OF NOT MORE THAN
16     $250,000 PER COUNT; A SUPERVISED RELEASE TIME OF
17     NOT MORE THAN FIVE YEARS PER COUNT; AN ASSESSMENT
18     FEE OF $100, PLUS RESTITUTION, IF APPLICABLE.
19                  WITH REGARD TO YOUR CUSTODIAL SENTENCE
20     ON COUNTS TWO AND FOUR, THE SENTENCE YOU RECEIVE
21     FOR THOSE COUNTS HAS TO BE CONSECUTIVE TO ANY
22     OTHER SENTENCE YOU RECEIVE.
23                  DO YOU UNDERSTAND THAT?
24                  THE DEFENDANT:      YES, MA'AM.
25                  THE COURT:     AND, MR. THREATT, ARE YOU
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 1     SATISFIED YOUR CLIENT UNDERSTANDS?
 2                  MR. THREATT:      YES, YOUR HONOR.      AND
 3     THOSE TWO COUNTS ALSO HAVE TO BE CONSECUTIVE TO
 4     EACH OTHER.
 5                  THE COURT:     RIGHT.    SO YOU ARE FACING,
 6     IN ESSENCE, FOR PLEADING GUILTY TO COUNTS TWO AND
 7     FOUR, YOU ARE FACING A CUSTODIAL SENTENCE OF NOT
 8     LESS THAN TEN YEARS CONSECUTIVE TO ANY OTHER
 9     SENTENCE YOU RECEIVE FOR THE OTHER COUNTS.
10                  DO YOU UNDERSTAND?
11                  THE DEFENDANT:      YES, MA'AM.
12                  THE COURT:     NOW, WHY IS HE NOT SUBJECT
13     TO -- DOES HE NOT HAVE A PRIOR CONVICTION THAT
14     WOULD MAKE HIM SUBJECT TO THE ENHANCED 25 YEAR
15     SENTENCE, NOT LESS THAN 25 YEARS?
16                  MR. DIMLER:     YOUR HONOR, YOU ARE
17     REFERRING TO THE 924(C)?
18                  THE COURT:     YES.
19                  MR. DIMLER:     THE FIRST STEP ACT
20     ACTUALLY ALTERED THOSE 924(C) STACKING COUNTS IN
21     THIS ONE.
22                  THE COURT:     OH, OKAY.
23                  MR. DIMLER:      THEY ARE NOW, UNLESS
24     THERE IS A --
25                  THE COURT:     I HAVE NOT HAD TO LEARN
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 1     THAT LAW YET BUT I AM HAPPY TO KNOW THERE IS A
 2     CHANGE.    WHAT IS IT THAT APPLIES HERE?
 3                  MR. DIMLER:     I AM STILL LEARNING IT.
 4     BUT FORMERLY, IF THERE WERE CONSECUTIVE 924(C)'S
 5     IN THE SAME INDICTMENT, THEY WOULD GO FROM 5 TO
 6     25 TO 25.     NOW THEY ARE ALL FIVE STACKING UNLESS
 7     THERE IS A PREVIOUS CONVICTION FOR THE FIVE YEAR,
 8     924(C) --
 9                  THE-COURT:     AND HE DOES NOT HAVE THAT
10     HERE?
11                  MR. DIMLER:      HE DOES NOT HAVE THAT.
12                  MR. THREATT:      AND THAT HAPPENED AFTER
13     HE HAD BEEN INDICTED, YOUR HONOR.           SO WE HAD THE
14     PROBATION OFFICE GO BACK AND REVISE IT --
15                  THE COURT:     I GOT IT.
16                  MR. THREATT:      -- THE GUIDELINE
17     CALCULATION TO INCORPORATE THE CHANGES.
18                  THE COURT:     GREAT.
19                  MR. THREATT:      AND WE HAVE THE ACT HERE
20     IN COURT IN CASE THE COURT NEEDS IT.
21                  THE COURT:     WELL, I WOULD LOVE A MINI
22     TUTORIAL ON IT AFTERWARDS.         BUT I UNDERSTAND
23     TOTALLY WHAT YOU JUST SAID.          FROM BOTH OF YOU;
24     THAT WOULD BE GREAT.
25                  OKAY, COUNT FIVE, I DON'T THINK THERE
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 1     IS ANY CONFUSION ABOUT WHAT I SAID TO THE
 2     DEFENDANT.     YOU ARE FACING NOT LESS THAN TEN
 3     YEARS BY PLEADING GUILTY TO COUNTS TWO AND FOUR,
 4     AND THAT TEN YEARS HAS TO BE CONSECUTIVE TO ANY
 5     OTHER SENTENCE YOU RECEIVE.
 6                  DO YOU UNDERSTAND?
 7                  THE DEFENDANT:      YES, MA'AM.
 8                  THE COURT:     PLEADING GUILTY TO COUNT
 9     FIVE, FIVE WHICH CHARGES YOU WITH VIOLATING TITLE
10     21 U.S. CODE SECTION 841(A)(1).           THE MAXIMUM
11     SENTENCE YOU ARE FACING IS NOT LESS THAN FIVE
12     YEARS BUT NOT MORE THAN 40 YEARS; A FINE OF NOT
13     MORE THAN $5 MILLION DOLLARS; A SUPERVISED
14     RELEASE TERM OF NOT LESS THAN FOUR YEARS; AN
15     ASSESSMENT FEE OF $100, PLUS COMMUNITY
16     RESTITUTION, IF APPLICABLE.
17                  DO YOU UNDERSTAND THAT'S THE MAXIMUM
18     SENTENCE YOU ARE FACING ON A PLEA OF GUILTY TO
19     COUNT FIVE?
20                  THE DEFENDANT:      YES, MA'AM.
21                  THE COURT:     DO YOU UNDERSTAND THE
22     MAXIMUM SENTENCE YOU ARE FACING ON A PLEA OF
23     GUILTY TO COUNT SIX WHICH CHARGES YOU WITH
24     VIOLATING TITLE 21 U.S. CODE SECTION 841(A)(1) IS
25     A CUSTODIAL SENTENCE OF NOT LESS THAN FIVE YEARS
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 1     BUT NOT MORE THAN 40 YEARS; A FINE OF NOT MORE
 2     THAN $5 MILLION DOLLARS; A SUPERVISED RELEASE
 3     TERM OF NOT LESS THAN FOUR YEARS; AN ASSESSMENT
 4     FEE OF $100, PLUS RESTITUTION TO THE COMMUNITY,
 5     IF APPLICABLE.
 6                  DO YOU UNDERSTAND THAT'S THE MAXIMUM
 7     SENTENCE YOU ARE FACING ON A PLEA OF GUILTY TO
 8     COUNT SIX?
 9                  THE DEFENDANT:      YES, MA'AM.
10                  THE COURT:     DO YOU ALSO UNDERSTAND, MR.
11     THREATT, THAT YOU HAVE THE RIGHT TO INSIST UPON
12     YOUR EARLIER PLEA OF NOT GUILTY AND THAT IF YOU
13     DO SO, THE BURDEN IS ON THE UNITED STATES TO
14     PROVE YOUR GUILT TO A JURY BEYOND A REASONABLE
15     DOUBT.
16                  DO YOU UNDERSTAND THAT?
17                  THE DEFENDANT:      YES, MA'AM.
18                  THE COURT:     DO YOU UNDERSTAND THAT AT A
19     TRIAL YOU WOULD HAVE THE RIGHT TO THE ASSISTANCE
20     OF COUNSEL?
21                  THE DEFENDANT:      YES, MA'AM.
22                  THE COURT:     DO YOU UNDERSTAND THAT AT A
23     TRIAL YOU WOULD HAVE THE RIGHT NOT TO BE
24     COMPELLED TO INCRIMINATE YOURSELF OR PRODUCE ANY
25     EVIDENCE?
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 1                  THE DEFENDANT:       YES, MA'AM.
 2                  THE COURT:     DO YOU UNDERSTAND WITH THIS
 3     PLEA OF GUILTY THERE WILL BE NO JURY TRIAL; THERE
 4     WILL BE NO FURTHER PRESUMPTION OF INNOCENCE;
 5     THERE WILL BE NO RIGHT BY YOU, THROUGH YOUR
 6     COUNSEL, TO CONFRONT AND CROSS EXAMINE THE
 7     WITNESSES THAT THE GOVERNMENT WOULD BE REQUIRED
 8     TO BRING FORTH TO PROVE YOUR GUILT.            IN OTHER
 9     WORDS, YOU ARE GIVING UP A NUMBER OF IMPORTANT
10     CONSTITUTIONAL RIGHT BY PLEADING GUILTY.
11                  DO YOU UNDERSTAND ALL OF THAT?
12                  THE DEFENDANT:      YES, MA'AM.
13                  THE COURT:     WE HAVE DISCUSSED THIS A
14     LITTLE BIT.     YOU UNDERSTAND THAT ANY SENTENCE
15     IMPOSED IN THIS CASE IS SUBJECT TO THE FEDERAL
16     SENTENCING GUIDELINES AS WELL AS TO SOME FEDERAL
17     STATUTES?
18                  DO YOU UNDERSTAND?
19                  THE DEFENDANT:      YES, MA'AM.
20                  THE COURT:     HAVE YOU DISCUSSED THE
21     GUIDELINES AS WELL AS THE STATUTES THAT APPLY TO
22     YOUR CASE WITH REGARD TO SENTENCING WITH YOUR
23     LAWYER?
24                  THE DEFENDANT:      YES, MA'AM.
25                  THE COURT:     MR. THREATT, ARE YOU
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 1     SATISFIED YOUR CLIENT UNDERSTANDS THE SENTENCING
2      GUIDELINES AS WELL AS THE APPLICABLE MINIMUM
3      MANDATORY STATUTES THAT APPLY TO HIS CASE?
4                   MR. THREATT:      YES, I AM, YOUR HONOR.
5                   THE COURT:     MR. THREATT, IS THERE
6      ANYTHING THAT PREVENTS YOU FROM UNDERSTANDING
 7     ANYTHING I AM SAYING TO YOU HERE TODAY?
 8                  THE DEFENDANT:      NO, MA'AM.
 9                  THE COURT:     HOW DO YOU PHYSICALLY FEEL?
10     MEANING ARE YOU WELL OR ARE YOU SICK?
11                  THE DEFENDANT:      I AM WELL.
12                  THE COURT:     WITHIN THE PAST 72 HOURS,
13     HAVE YOU TAKEN OR RECEIVED ANY MEDICATION, DRUGS,
14     OR NARCOTICS?
15                  THE DEFENDANT:      BLOOD PRESSURE
16     MEDICINE.
17                  THE COURT:     I'M SORRY, WHAT?
18                  THE DEFENDANT:      BLOOD PRESSURE
19     MEDICINE.
20                  THE COURT:     BLOOD PRESSURE MEDICINE?
21                  THE DEFENDANT:       YES, MA'AM.
22                  THE COURT:     ANYTHING ELSE?
23                  THE DEFENDANT:      NO, MA'AM.
24                  THE COURT:     ANYTHING ABOUT THAT
25     MEDICATION THAT CAUSES YOU TO NOT BE ABLE TO
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 1     APPRECIATE THE SERIOUSNESS OF WHAT YOU ARE DOING
 2     HERE TODAY, PLEADING GUILTY TO SERIOUS COUNTS
 3     THAT CARRY A LENGTHY CUSTODIAL SENTENCE?
 4                  THE DEFENDANT:       NO, MA'AM.
 5                  THE COURT:      COUNT ONE OF THE
 6     INDICTMENT CHARGES YOU WITH VIOLATING TITLE 21
 7     U.S. CODE SECTION 841(A)(1) AND (B)(1)(C) AND
 8     READS AS FOLLOWS:
 9                  THE GRAND JURY CHARGES THAT ON OR
10     ABOUT THE 9TH DAY OF MAY, 2017, IN TALLADEGA
11     COUNTY, WITHIN THE NORTHERN DISTRICT OF ALABAMA,
12     YOU DID KNOWINGLY AND INTENTIONALLY DISTRIBUTE A
13     MIXTURE AND SUBSTANCE CONTAINING A DETECTABLE
14     AMOUNT OF METHAMPHETAMINE, A CONTROLLED
15     SUBSTANCE, IN VIOLATION OF TITLE 21 U.S. CODE
16     SECTION 841(A)(1) AND (B)(1)(C).
17                  TITLE 21 U.S. CODE SECTION 841(A)(1)
18     MAKES IT A FEDERAL CRIME OR OFFENSE FOR ANYONE TO
19     DISTRIBUTE A CONTROLLED SUBSTANCE.
20                  BEFORE YOU COULD BE CONVICTED OF THE
21     CRIME CHARGED IN COUNT ONE, THE GOVERNMENT WOULD
22     HAVE TO PROVE BEYOND A REASONABLE DOUBT THAT ON
23     OR ABOUT THE DATE CHARGED, THAT BEING MAY 9TH,
24     2017, YOU DISTRIBUTED METHAMPHETAMINE TO ANOTHER
25     PERSON, AND METHAMPHETAMINE IS A CONTROLLED
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 1     SUBSTANCE WITHIN THE MEANING OF THE LAW.
 2                  TO DISTRIBUTE WITHIN THE STATUTE SIMPLY
 3     MEANS TO DELIVER OR TRANSFER POSSESSION OF A
 4     CONTROLLED SUBSTANCE TO ANOTHER PERSON WITH OR
 5     WITHOUT ANY FINANCIAL INTEREST IN THE
 6     TRANSACTION.
 7                  DO YOU UNDERSTAND THE CHARGE AGAINST
 8     YOU IN COUNT TWO OF THE INDICTMENT?
 9                  THE DEFENDANT:       YES, MA'AM.
10                  THE COURT:     EXCUSE ME, COUNT ONE.        I
11     WAS JUST READING COUNT ONE.          YOU UNDERSTAND COUNT
12     ONE?
13                  THE DEFENDANT:       YES, MA'AM.
14                  THE COURT:     COUNT TWO READS AS FOLLOWS:
15     THE GRAND JURY CHARGES THAT ON OR ABOUT THE 9TH
16     DAY OF MAY, 2017, IN TALLADEGA COUNTY, WITHIN THE
17     NORTHERN DISTRICT OF ALABAMA, YOU DID KNOWINGLY
18     USE AND CARRY A FIREARM DURING AND IN RELATION TO
19     A DRUG TRAFFICKING CRIME FOR WHICH YOU COULD BE
20     PROSECUTED IN A COURT OF THE UNITED STATES; THAT
21     IS, A DRUG TRAFFICKING OFFENSE ALLEGED IN COUNT
22     ONE OF THIS INDICTMENT, IN VIOLATION OF TITLE 18
23     UNITED STATES CODE 924(C)(1) A.
24                  IT IS A SEPARATE FEDERAL CRIME OR
25     OFFENSE FOR ANYONE TO USE OR CARRY A FIREARM
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 1     DURING AND IN RELATION TO A DRUG TRAFFICKING
 2     CRIME.
 3                  BEFORE YOU COULD BE FOUND GUILTY OF THE
 4     OFFENSE CHARGED IN COUNT TWO, THE GOVERNMENT
 5     WOULD BE REQUIRED TO PROVE BEYOND A REASONABLE
 6     DOUBT, FIRST, THAT YOU COMMITTED THE DRUG
 7     TRAFFICKING OFFENSE CHARGED IN COUNT ONE.
 8                  SECOND, THAT DURING THE COMMISSION OF
 9     THAT OFFENSE YOU USED AND/OR CARRIED A FIREARM,
10     AND THAT YOU USED AND CARRIED THE FIREARM DURING
11     AND IN RELATION TO THE DRUG TRAFFICKING CHARGE.
12                  TO USE A FIREARM WITHIN THE MEANING OF
13     THE STATUTE MEANS MORE THAN MERE POSSESSION AND
14     MORE THAN PROXIMITY AND ACCESSIBILITY.             IT
15     REQUIRES ACTIVE EMPLOYMENT OF THE WEAPON AS BY
16     BRANDISHING OR DISPLAYING IT IN SOME FASHION.
17                  TO CARRY A FIREARM IS TO HAVE A FIREARM
18     ON ONE'S PERSON OR TO TRANSFER OR CONTROL A
19     FIREARM IN A WAY THAT MAKES IT AVAILABLE FOR
20     IMMEDIATE USE WHILE COMMITTING THE DRUG
21     TRAFFICKING OFFENSE.
22                  TO POSSESS THE FIREARM IN FURTHERANCE
23     OF A CRIME MEANS THE FIREARM HELPED, PROMOTED, OR
24     ADVANCED THE CRIME IN SOME WAY.
25                  IN THIS CASE, COUNT TWO, YOU ARE
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 1     CHARGED WITH POSSESSING A FIREARM IN TWO
 2     DIFFERENT WAYS:      USING IT AND CARRYING IT.          SO
 3     USING IT WOULD REQUIRE, AS I JUST STATED, THAT
 4     YOU ACTIVELY EMPLOYED IT, BY BRANDISHING OR
 5     DISPLAYING IT IN SOME WAY.         CARRYING IT MEANS IT
 6     COULD BE CLOSE BY, NEAR BY, YOU JUST HAD IT
 7     ACCESSIBLE TO YOU TO USE DURING YOUR DRUG
 8     TRAFFICKING CONDUCT.
 9                  DO YOU UNDERSTAND WHAT I AM SAYING NOW?
10                  THE DEFENDANT:      YES, MA'AM.
11                  THE COURT:     THERE IS A LITTLE BIT OF A
12     DIFFERENCE.     THE JURY WOULD BE CHARGED IN THIS
13     CASE AS TO BOTH WAYS, USING IT OR CARRYING IT.
14     THEY MIGHT FIND BOTH.        BUT ALL 12 WOULD HAVE TO
15     AGREE AS TO WHICH WAY THAT YOU USED IT, WHETHER
16     IT WAS BOTH OR ONE OF THE OTHER.
17                  MR. THREATT, DID YOU EXPLAIN ALL THAT
18     TO HIM WHEN YOU WERE TALKING TO HIM?
19                  MR. THREATT:      I DID, YOUR HONOR.       AND
20     FORTUNATELY, IN THIS CASE THERE IS VIDEO, WHICH
21     MAKES IT EASIER TO EXPLAIN.
22                  THE COURT:     RIGHT; OKAY.      DO YOU
23     UNDERSTAND THE CHARGE AGAINST YOU IN COUNT TWO
24     AND DO YOU UNDERSTAND WHAT THE GOVERNMENT WOULD
25     HAVE TO PROVE BEFORE YOU COULD BE CONVICTED OF
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 1     THAT OFFENSE?
 2                  THE DEFENDANT:      YES, MA'AM.
 3                  THE COURT:     COUNT THREE AGAIN CHARGES
 4     YOU WITH VIOLATING TITLE 21 U.S. CODE 841(A)(1)
 5     AND (B)(1)(C) READS AS FOLLOWS:
 6                  THE GRAND JURY CHARGES ON OR ABOUT MAY
 7     12TH, 2017, IN TALLADEGA COUNTY, WITHIN THE
 8     NORTHERN DISTRICT OF ALABAMA, YOU DID KNOWINGLY
 9     AND INTENTIONALLY DISTRIBUTE A MIXTURE AND
10     SUBSTANCE CONTAINING A DETECTABLE AMOUNT OF
11     HEROIN, A CONTROLLED SUBSTANCE, IN VIOLATION OF
12     TITLE 21 U.S. CODE SECTIONS 841(A)(1) AND
13     (B)(1)(C).
14                  TITLE 21 U.S. CODE SECTION 841(A)(1),
15     AS I JUST STATED WITH REGARD TO COUNT ONE, MAKES
16     IT A FEDERAL CRIME TO DISTRIBUTE A CONTROLLED
17     SUBSTANCE.     HEROIN IS A CONTROLLED SUBSTANCE
18     WITHIN THE MEANING OF THE LAW.
19                  BEFORE YOU COULD BE FOUND GUILTY OF THE
20     OFFENSE CHARGED IN COUNT -- I DON'T KNOW IF I AM
21     SAYING THE COUNTS RIGHT HERE -- COUNT THREE, THE
22     GOVERNMENT WOULD HAVE THE BURDEN OF PROVING THAT
23     ON OR ABOUT THE DATE CHARGED YOU DISTRIBUTED
24     HEROIN AS CHARGED.       THEY WOULD HAVE TO PROVE THAT
25     THE SUBSTANCE YOU DISTRIBUTED WAS A CONTROLLED
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 1     SUBSTANCE, THAT BEING HEROIN.          AND ALSO, WITH
 2     REGARD TO THE DISTRIBUTION, MERELY WOULD HAVE TO
 3     PROVE BEYOND A REASONABLE DOUBT THAT YOU
 4     TRANSFERRED POSSESSION OF THE CONTROLLED
 5     SUBSTANCE WITH OR WITHOUT A FINANCIAL INTEREST IN
 6     THE TRANSACTION.
 7                  AND WHAT'S MEANT BY THAT IS THEY WOULD
 8     NOT HAVE TO PROVE THAT YOU GOT MONEY FOR IT.              IF
 9     THEY JUST PROVE THAT YOU HANDED HEROIN TO ANOTHER
10     PERSON, THAT WOULD BE SUFFICIENT UNDER THE LAW,
11     IF IT WAS PROVED BEYOND A REASONABLE DOUBT.
12                  COUNT FOUR CHARGES ON OR ABOUT THE 12TH
13     DAY OF MAY, 2017, WITHIN THE NORTHERN DISTRICT OF
14     ALABAMA, YOU DID KNOWINGLY USE AND CARRY A
15     FIREARM DURING AND IN RELATION TO A DRUG
16     TRAFFICKING CRIME FOR WHICH YOU COULD BE
17     PROSECUTED IN A COURT OF THE UNITED STATES.              THAT
18     IS, THE DRUG TRAFFICKING CRIME CHARGED IN COUNT
19     THREE, IN VIOLATION OF TITLE 18 U.S. CODE SECTION
20     924(C)(1) A.     THIS IS SIMILAR TO THE COUNT, COUNT
21     TWO, AND I READ YOU THE REQUIREMENTS WITH REGARD
22     TO USE AND CARRYING A FIREARM DURING AND IN
23     RELATION TO A DRUG TRAFFICKING CRIME.            BUT LET ME
24     JUST -- I WON'T REPEAT ALL OF IT, BUT PART OF IT.
25                  BEFORE YOU COULD BE CONVICTED OF THE
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 1     OFFENSE CHARGED IN COUNT FOUR, THE GOVERNMENT
 2     WOULD HAVE TO PROVE BEYOND A REASONABLE DOUBT
 3     THAT YOU COMMITTED THE DRUG TRAFFICKING OFFENSE
 4     CHARGED IN COUNT THREE.        THAT YOU, DURING THE
 5     COMMISSION OF THAT CRIME, THE DRUG TRAFFICKING
 6     CRIME, YOU USED AND/OR CARRIED A FIREARM.             AND,
 7     THIRD, THAT YOU USED OR CARRIED THE FIREARM
 8     DURING AND IN RELATION TO THE DRUG TRAFFICKING
 9     CRIME CHARGED IN COUNT THREE.
10                  DO YOU UNDERSTAND THE CHARGE AGAINST
11     YOU IN COUNT FOUR OF THE INDICTMENT?
12                  THE DEFENDANT:       YES, MA'AM.
13                  THE COURT:     COUNT FIVE CHARGES YOU
14     AGAIN WITH VIOLATING TITLE 21 U.S. CODE SECTION
15     841(A)(1) AND READS AS FOLLOWS:
16                  THE GRAND JURY CHARGES THAT ON OR ABOUT
17     THE 13TH DAY OF JUNE, 2017, IN TALLADEGA COUNTY,
18     WITHIN THE NORTHERN DISTRICT OF ALABAMA, YOU DID
19     KNOWINGLY AND INTENTIONALLY DISTRIBUTE FIVE GRAMS
20     OR MORE OF METHAMPHETAMINE, A CONTROLLED
21     SUBSTANCE, IN VIOLATION OF TITLE 21 U.S. CODE
22     SECTION 841(A)(1).
23                  AS I HAVE STATED EARLIER WITH REGARD TO
24     COUNTS ONE AND THREE, TITLE 21 U.S. CODE SECTION
25     841(A)(1) MAKES IT A FEDERAL CRIME FOR ANYONE TO
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 1     DISTRIBUTE A CONTROLLED SUBSTANCE.
 2     METHAMPHETAMINE IS A CONTROLLED SUBSTANCE WITHIN
 3     THE MEANING OF THE LAW.
 4                  BEFORE YOU COULD BE FOUND GUILTY OF THE
 5     OFFENSE CHARGED IN COUNT FIVE, THE GOVERNMENT
 6     WOULD HAVE THE BURDEN OF PROVING BEYOND A
 7     REASONABLE DOUBT THAT ON OR ABOUT JUNE 13TH,
 8     2017, YOU DISTRIBUTED A CONTROLLED SUBSTANCE.
 9                  SECOND, THAT THAT CONTROLLED SUBSTANCE
10     WAS METHAMPHETAMINE.
11                  TO DISTRIBUTE, AS I STATED EARLIER,
12     SIMPLY MEANS TO TRANSFER POSSESSION OF A
13     CONTROLLED SUBSTANCE TO ANOTHER PERSON, WITH OR
14     WITHOUT ANY FINANCIAL INTEREST IN THE
15     TRANSACTION.
16                  DO YOU UNDERSTAND THE CHARGE AGAINST
17     YOU IN COUNT FIVE?
18                  THE DEFENDANT:       YES, MA'AM.
19                  THE COURT:     COUNT SIX CHARGES YOU AGAIN
20     WITH VIOLATING TITLE 21 U.S. CODE SECTION
21     841(A)(1), B(1)(B), AND (B)(1)(C), AND READS AS
22     FOLLOWS:
23                  THE GRAND JURY CHARGES THAT ON OR ABOUT
24     THE 16TH DAY OF JUNE, 2017, IN TALLADEGA COUNTY,
25     WITHIN THE NORTHERN DISTRICT OF ALABAMA, YOU DID
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 1     KNOWINGLY AND INTENTIONALLY POSSESS WITH THE
 2     INTENT TO DISTRIBUTE FIVE GRAMS OR MORE OF
 3     METHAMPHETAMINE; A MIXTURE AND SUBSTANCE
 4     CONTAINING A DETECTABLE AMOUNT OF FENTANYL; A
 5     MIXTURE AND SUBSTANCE CONTAINING A DETECTABLE
 6     AMOUNT OF COCAINE BASE; AND AN AMOUNT OF
 7     MARIJUANA; EACH A CONTROLLED SUBSTANCE, IN
 8     VIOLATION OF TITLE 21 U.S. CODE SECTION
 9     841(A)(1,) (B)(1)(B), AND (B)(1)(C).
10                  TITLE 21 U.S. CODE SECTION 841(A)(1)
11     MAKES IT A FEDERAL CRIME OR OFFENSE FOR ANYONE TO
12     POSSESS A CONTROLLED SUBSTANCE WITH THE INTENT TO
13     DISTRIBUTE IT.      METHAMPHETAMINE, FENTANYL,
14     COCAINE BASE, AND MARIJUANA ARE ALL CONTROLLED
15     SUBSTANCE WITHIN THE MEANING OF THE LAW.
16                  BEFORE YOU COULD BE CONVICTED OF THE
17     OFFENSE CHARGED IN COUNT SIX OF THE INDICTMENT,
18     THE GOVERNMENT WOULD HAVE THE BURDEN OF PROVING
19     BEYOND A REASONABLE DOUBT, FIRST, THAT YOU
20     KNOWINGLY AND WILLFULLY POSSESSED A CONTROLLED
21     SUBSTANCE AS CHARGED; THAT YOU POSSESSED THE
22     CONTROLLED SUBSTANCE WITH INTENT TO DISTRIBUTE
23     IT; AND I AM GOING TO GO A LITTLE FURTHER IN A
24     MINUTE WITH REGARD TO THE WEIGHT.
25                  NOW, AGAIN, AS I HAVE STATED, TO
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 1     DISTRIBUTE SIMPLY MEANS TO TRANSFER POSSESSION OF
 2     A CONTROLLED SUBSTANCE WITH OR WITHOUT ANY
 3     FINANCIAL INTEREST IN THE TRANSACTION.
 4                  YOU ARE CHARGED IN COUNT SIX WITH ONE,
 5     TWO, THREE -- FOUR DRUGS.         YOU COULD BE FOUND
 6     GUILTY, FOR INSTANCE, IF THE JURY FOUND BEYOND A
 7     REASONABLE DOUBT THAT YOU KNOWINGLY AND WILLFULLY
 8     POSSESSED METHAMPHETAMINE, AND YOU POSSESSED THAT
 9     CONTROLLED SUBSTANCE WITH THE INTENT TO
10     DISTRIBUTE IT.      EVEN IF THEY FOUND YOU DID NOT
11     POSSESS FENTANYL, COCAINE BASE, OR MARIJUANA.
12     BUT THEY WOULD ALL 12, IF THE CASE WENT TO TRIAL,
13     THEY WOULD HAVE TO ALL 12 AGREE OF WHICH, MAYBE
14     THEY WOULD FIND ONE OR ALL OF THE CONTROLLED
15     SUBSTANCES LISTED HERE.        BUT YOU COULD BE FOUND
16     GUILTY OF COUNT SIX AS LONG AS ALL 12 AGREED ON
17     ONE OF THOSE CONTROLLED SUBSTANCES AND THAT YOU
18     HAD POSSESSED THAT CONTROLLED SUBSTANCE WITH THE
19     INTENT TO DISTRIBUTE IT.
20                  DO YOU UNDERSTAND WHAT I AM SAYING?
21                  THE DEFENDANT:      YES, MA'AM.
22                  THE COURT:      MR. THREATT, HAVE YOU
23     EXPLAINED ALL THAT TO HIM REGARDING COUNT SIX?
24                  MR. THREATT:      I HAVE, YOUR HONOR.
25                  THE COURT:      NOW, IN REGARD TO COUNT
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 1     SIX, AND WITH REGARD TO THIS PLEA, WITH REGARD TO
 2     THE METHAMPHETAMINE, IT CHARGES YOU WITH
 3     POSSESSION WITH INTENT TO DISTRIBUTE FIVE GRAMS
 4     OR MORE OF METHAMPHETAMINE.          BECAUSE THAT
 5     QUANTITY TRIGGERS SOMETHING WITH REGARD TO YOUR
 6     SENTENCING, I WOULD PUT THE QUANTITY TO THE JURY
 7     WITH REGARD TO THE METHAMPHETAMINE.
 8                  NOW, YOU COULD BE FOUND GUILTY OF THAT
 9     CHARGE EVEN IF THEY FOUND THAT YOU POSSESSED LESS
10     THAN FIVE GRAMS.       AS LONG AS THEY FOUND, ALL 12
11     FOUND YOU POSSESSED IT WITH THE INTENT TO
12     DISTRIBUTE IT.      BUT I WOULD PUT TO THE JURY THE
13     QUANTITY WITH REGARD TO THE METHAMPHETAMINE.
14                  DO YOU UNDERSTAND WHAT I SAID TO YOU?
15                  THE DEFENDANT:       YES, MA'AM.
16                  THE COURT:     ARE YOU PLEADING GUILTY TO
17     HAVING POSSESSED WITH INTENT TO DISTRIBUTE FIVE
18     GRAMS OR MORE OF METHAMPHETAMINE ON OR ABOUT JUNE
19     16TH, 2017?
20                  THE DEFENDANT:       YES, MA'AM.
21                  THE COURT:     OKAY.    SO DO YOU UNDERSTAND
22     COUNT SIX AND WHAT THE GOVERNMENT WOULD HAVE TO
23     PROVE FOR YOU TO BE CONVICTED OF THAT COUNT?
24                  THE DEFENDANT:       YES, MA'AM.
25                  THE COURT:      HAVE YOU HAD SUFFICIENT
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 1     TIME, MR. THREATT, TO DISCUSS ALL THE CHARGES IN
 2     THE SUPERSEDING INDICTMENT WITH YOUR ATTORNEY?
 3                  THE DEFENDANT:      YES, MA'AM.
 4                  THE COURT:     ARE YOU SATISFIED WITH YOUR
 5     LAWYER AND THE WORK HE HAS DONE FOR YOU?
 6                  THE DEFENDANT:       YES, MA'AM.
 7                  THE COURT:     MR. THREATT, ARE YOU
 8     SATISFIED YOUR CLIENT FULLY UNDERSTANDS THE
 9     CHARGES AGAINST HIM AND THE CONSEQUENCES OF
10     ENTERING A PLEA OF GUILTY TO THE CHARGES?
11                  MR. THREATT:      YES, I AM, YOUR HONOR.
12                  THE COURT:     ARE YOU ALSO SATISFIED THAT
13     HE IS KNOWINGLY AND VOLUNTARILY ENTERING HIS PLEA
14     OF GUILTY?
15                  MR. THREATT:      YES, I AM, YOUR HONOR.
16                  THE COURT:     AS HIS ATTORNEY, HAVE YOU
17     HAD SUFFICIENT TIME TO INVESTIGATE THE CASE, THE
18     CHARGES AGAINST MR. THREATT, ANY POSSIBLE
19     DEFENSES THAT HE MIGHT HAVE TO THE CHARGES, AND
20     HAVE YOU GENERALLY GIVEN HIM COUNSEL AND ADVICE?
21                  MR. THREATT:      YES, I HAVE, YOUR HONOR.
22                  THE COURT:     MR. THREATT, I HAVE A
23     QUESTION ABOUT THE PLEA AGREEMENT IN JUST A
24     MINUTE BEFORE I HAVE HIM START ON WHAT HE EXPECTS
25     TO PROVE.     BUT IN JUST A MINUTE I AM GOING TO ASK
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 1     THE ASSISTANT U.S. ATTORNEY TO STATE FOR THE
 2     RECORD WHAT HE WOULD EXPECT THE GOVERNMENT TO
 3     PROVE IF THIS CASE WENT TO TRIAL.
 4                  IF, WHILE HE IS SPEAKING, HE SAYS
 5     ANYTHING THAT IS NOT TRUE OR THAT YOU DO NOT
 6     BELIEVE THE GOVERNMENT CAN PROVE, I WANT YOU TO
 7     INTERRUPT HIM RIGHT THEN AND TELL ME.
 8                  DO YOU UNDERSTAND WHAT I JUST SAID?
 9                  THE DEFENDANT:       YES, MA'AM.
10                  THE COURT:      BEFORE YOU START, LET ME
11     LOOK AT THE PLEA AGREEMENT.          I WROTE ON THE
12     ORIGINAL PLEA AGREEMENT -- A LOT.           I GUESS WE'LL
13     JUST HAVE A COPY MADE, A CLEAN COPY MADE.
14                  THE CLERK:     YES, MA'AM.
15                  THE COURT:     I WAS GOING THROUGH THE
16     PLEA AGREEMENT TO SEE IF I THOUGHT THERE WAS A
17     FACTUAL BASIS FOR EACH COUNT.          AND WHEN I GOT TO
18     COUNT SIX, I HAVE A QUESTION.          WELL, BEFORE THAT,
19     THOUGH, PAGE FOUR OF THE PLEA, I THINK I KNOW
20     WHAT IT MEANS BUT I DON'T THINK IT'S STATED
21     EARLIER.    LET ME SEE IF IT IS OR NOT.
22                  THE LAST PARAGRAPH, THE TCDTF, AND ATF,
23     I THINK BOTH OF THOSE, PARTICULARLY ATF, ARE
24     UNDERSTANDABLE.      BUT NEVERTHELESS, I THINK YOU
25     ARE TALKING ABOUT THE TALLADEGA --
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 1                  MR. DIMLER:     TALLADEGA COUNTY DRUG TASK
 2     FORCE.
 3                  THE COURT:     TALLADEGA COUNTY DRUG TASK
 4     FORCE AND THE ATF.       I THINK YOU OUGHT TO WRITE
 5     BOTH OF THOSE IN THERE, IN THE ORIGINAL PLEA
 6     AGREEMENT.
 7                  MR. DIMLER:     YES, YOUR HONOR.
 8                  THE COURT:     SO THERE IS AT LEAST ONE
 9     PLACE WHERE THE ACRONYM IS EXPLAINED.
10                  MR. DIMLER:     YES, YOUR HONOR.
11                  THE COURT:     BUT, MORE OF A CONCERN TO
12     ME, I GUESS I WOULD SAY, IS ON PAGE FIVE.             AS I
13     SAY, I WENT THROUGH AND IT SEEMED TO ME YOU HAVE
14     A FACTUAL BASIS FOR COUNTS ONE THROUGH FIVE.               BUT
15     HERE WE GET TO COUNT FOUR AND IT'S SORT OF THE
16     BOTTOM PART OF PAGE FIVE.         SO, I AM GOING TO
17     READ.    YOU ALL WITH ME?
18                  MR. THREATT:      YES, MA'AM.
19                  THE COURT:     IT SAYS ON JUNE 14TH, 2017,
20     THE TALLADEGA COUNTY DRUG TASK FORCE OBTAINED A
21     SEARCH WARRANT AT 511 LAWRENCE AVENUE BASED ON
22     THE JUNE 13TH, 2017 CONTROLLED PURCHASE.             LAW
23     ENFORCEMENT EXECUTED THE WARRANT ON JUNE 16TH,
24     2017, AND LOCATED GUNS, AMMUNITION, NARCOTICS, IN
25     ADDITION TO DISTRIBUTION IN A HOUSE AND ON THE
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 1     DEFENDANT, INCLUDING THE FOLLOWING.
 2                  BY THE WAY, OF COURSE, COUNT SIX IS
 3     JUNE 16TH, 2017.
 4                  SO, IF YOU LOOK DOWN TO THE FOURTH
 5     BULLET POINT, IT SAYS 45 GRAMS OF SUSPECTED
 6     METHAMPHETAMINE, THREE GRAMS OF HEROIN, FIVE
 7     GRAMS OF CRACK COCAINE, ONE GRAM OF COCAINE,
 8     MARIJUANA, AND OXYCODONE IN THE DEFENDANT'S
 9     POCKETS.
10                  IT DOES NOT SAY -- IT DOES NOT SAY
11     FENTANYL, WHICH IS ONE OF THE CONTROLLED
12     SUBSTANCES CHARGED IN COUNT SIX.
13                  IT ALSO PUTS THE WORD "SUSPECTED"
14     BEFORE METHAMPHETAMINE AND THE CRACK COCAINE.              I
15     DON'T KNOW IF SUSPECTED IS ONLY MEANT TO MODIFY
16     METHAMPHETAMINE OR IS SUPPOSED TO MODIFY ALL THE
17     DRUGS.    AGAIN, IT DOESN'T LIST METHAMPHETAMINE.
18     AND I DIDN'T SEE ANYWHERE WHERE YOU SAID THAT THE
19     TOXICOLOGY REPORT CAME BACK POSITIVE FOR THOSE.
20                  MR. DIMLER:     YOUR HONOR, AT THE BOTTOM
21     OF PAGE SIX.
22                  THE COURT:     DID I MISS IT?      OH, I'M
23     SORRY.    I DID.    OKAY; THANK YOU VERY MUCH.          LET'S
24     SEE, THOUGH.
25                  MR. DIMLER:     YOU MAY BE RIGHT ABOUT
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 1     NEEDING TO ADD FENTANYL TO THE LIST OF DRUGS THAT
 2     WERE SEIZED ON THE 16TH OF JUNE IN THIS SORT OF
 3     LAUNDRY LIST.
 4                  THE COURT:      WELL, ADD THAT.      AND THEN
 5     IS IT CLEAR FROM -- I JUST SKIPPED THAT, OR
 6     MISSED IT.     IS IT CLEAR FROM THE LIST, PAGE SIX,
 7     AS TO WHEN THESE WERE FOUND?          LET'S SEE.
 8                  I GUESS IT'S STILL CLEAR THAT YOU ARE
 9     TALKING ABOUT THE JUNE 16TH WARRANT, OR SEARCH
10     WARRANT.    I THINK IT STILL WOULD BE BETTER FOUND
11     ON JUNE 16TH.      YOU SEE WHAT I AM SAYING?
12                  MR. DIMLER:     YES, YOUR HONOR.       I
13     THINK -- AND FOR THE RECORD, I DIDN'T WRITE THIS.
14     I KNOW YOU DON'T CARE, BUT --
15                  THE COURT:     WELL, I MISSED THAT.
16                  MR. DIMLER:     I SEE WHAT YOU ARE TALKING
17     ABOUT, YOUR HONOR.       I WOULD BE GLAD TO ADD NEXT
18     TO WHERE IT SAYS SEARCH WARRANT, WHICH IS --
19                  THE COURT:     I THINK PAGE SIX ADD IN DEA
20     REPORTS CONFIRMED THE NATURE OF THE SUBSTANCES
21     FOUND ON JUNE 16TH, 2017.         I'M LOOKING AT PAGE
22     SIX.
23                  MR. DIMLER:     THE FIRST FOUR ENTRIES
24     WERE EARLIER DATES, THE BUYS --
25                  THE COURT:     OKAY.
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 1                  MR. DIMLER:     THE ONES MARKED SEARCH
 2     WARRANT THAT WERE FROM THE --
 3                  THE COURT:     OH.   WELL, HOW DO YOU WANT
 4     TO DO IT THEN?
 5                  MR. DIMLER:     I THINK, YOUR HONOR --
 6                  THE COURT:     THAT S.W. BELOW REFERS TO
 7     SEARCH WARRANT, MAYBE?
 8                  MR. DIMLER:     I WILL ADD THAT IN, YOUR
 9     HONOR.
10                  THE COURT:     IT DOESN'T ALSO SAY -- HE
11     IS PLEADING TO MARIJUANA IN COUNT SIX.             I DON'T
12     SEE MARIJUANA BEING ON THE DEA REPORT AS BEING
13     IDENTIFIED.
14                  MR. DIMLER:     I DIDN'T SEE THAT, YOUR
15     HONOR.
16                  OH, I DO SEE AT THE BOTTOM OF PAGE
17     FIVE.
18                  THE COURT:     HOLD ON A SECOND.       WELL, AT
19     THE BOTTOM OF PAGE FIVE IT SAYS WHAT WAS FOUND --
20     SUSPECTED METHAMPHETAMINE.         I AM SKIPPING OVER
21     LIKE HEROIN THAT'S NOT CHARGED -- FIVE GRAMS OF
22     CRACK, COCAINE WHICH IS NOT CHARGED, MARIJUANA,
23     AND OXYCODONE.      I WAS INTERESTED IN THE ONES THAT
24     WERE CHARGED IN COUNT SIX TO SHOW THEY HAVE BEEN,
25     THERE WAS A DEA REPORT OR SOMETHING SHOWING THAT
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 1     THEY WERE, IN FACT, CONTROLLED SUBSTANCES AS
 2     OPPOSED TO SUSPECTED.
 3                  SO, THE METHAMPHETAMINE IS COVERED ON
 4     PAGE SIX.     THE CRACK COCAINE IS COVERED ON PAGE
 5     SIX.    FENTANYL IS COVERED BUT NOT MARIJUANA,
 6     RIGHT?
 7                  MR. DIMLER:     THAT IS CORRECT, YOUR
 8     HONOR.
 9                  THE COURT:     I AM SURE -- I MEAN, I SAY
10     I AM SURE.     I WOULD DOUBT VERY SERIOUSLY THAT
11     MAKES ANY DIFFERENCE TO THE GUIDELINES WITH
12     REGARD TO COUNT SIX, CORRECT?
13                  MR. THREATT:      THAT'S CORRECT.
14                  MR. DIMLER:     IT WOULD NOT, YOUR HONOR.
15                  THE COURT:     I AM SURE IT WOULDN'T.         BUT
16     YOU NEED TO CHANGE THE BULLET POINT ON PAGE FIVE,
17     I THINK YOU NEED TO ADD IN FENTANYL.
18                  MR. DIMLER:     I DID, YOUR HONOR, ON MY
19     COPY.
20                  THE COURT:     AND ADD SOMETHING TO SHOW
21     THAT S.W. BELOW, ON PAGE SIX, REFERS TO THE
22     SEARCH WARRANT EXECUTED ON JUNE 16TH, 2017.
23     THAT'S A BETTER WAY TO DO IT.
24                  MR. DIMLER:      I HAVE DONE THAT AS WELL,
25     YOUR HONOR.
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 1                  THE COURT:     OKAY.    I AM NOW GOING TO
 2     ASK THE ASSISTANT U.S. ATTORNEY TO STATE FOR THE
 3     RECORD WHAT YOU EXPECT THE GOVERNMENT TO PROVE IF
 4     THE CASE WENT TO TRIAL.
 5                  AND AGAIN, MR. THREATT, IF HE SAYS
 6     ANYTHING THAT'S NOT TRUE OR YOU DO NOT BELIEVE
 7     THE GOVERNMENT CAN PROVE, INTERRUPT HIM AT THAT
 8     POINT AND LET ME KNOW.
 9                  THE DEFENDANT:      YES, MA'AM.
10                  THE COURT:     HE PROBABLY WILL BE READING
11     FROM THE PLEA AGREEMENT, STARTING ON PAGE FOUR.
12     IS THAT WHERE YOU ARE GOING TO READ?
13                  MR. DIMLER:     YES, YOUR HONOR.
14                  THE COURT:     I ASSUME YOU HAVE IT IN
15     FRONT OF YOU?
16                  MR. THREATT:      WE DO, YOUR HONOR.
17                  THE COURT:     SO YOU CAN FOLLOW ALONG.
18     AND MR. THREATT, ATTORNEY, ALSO STOP IF YOU THINK
19     THERE IS SOMETHING THAT NEEDS TO BE CORRECTED.
20                  MR. THREATT:      I WILL, YOUR HONOR.
21                  MR. DIMLER:     THANK YOU, YOUR HONOR.
22                       IF THIS CASE WERE TO PROCEED TO
23     TRIAL, THE GOVERNMENT WOULD EXPECT THE FACTS TO
24     SHOW THAT ON MAY 9TH, 2017, THE BUREAU OF
25     ALCOHOL, TOBACCO, AND FIREARMS RECEIVED
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 1     INFORMATION FROM THE TALLADEGA COUNTY DRUG TASK
 2     FORCE THROUGH A CONFIDENTIAL INFORMANT, HERE AND
 3     AFTER C.I., COULD PURCHASE NARCOTICS FROM THE
 4     DEFENDANT WHO THE C.I. KNEW AS BIG BOY.             THE C.I.
 5     IDENTIFIED A PHOTO OF THE DEFENDANT AS BIG BOY.
 6                  THE C.I. SAID HE OR SHE HAD BEEN
 7     PURCHASING METHAMPHETAMINE AND HEROIN FROM THE
 8     DEFENDANT FOR SOME TIME.         TALLADEGA COUNTY DRUG
 9     TASK FORCE AND THE ATF CONDUCTED CONTROLLED BUYS
10     ON MAY 9TH, 2017, MAY 12TH, 2017, MAY 24TH, 2017,
11     AND JUNE 13TH, 2017, AT THE DEFENDANT'S HOUSE AT
12     511 LAWRENCE AVENUE IN TALLADEGA, ALABAMA, BEFORE
13     EXECUTING THE SEARCH WARRANT THERE ON JUNE 16TH,
14     2017.
15                  ON MAY 9TH, 2017, THE C.I. PURCHASED
16     $100 OF METHAMPHETAMINE, APPROXIMATELY FOUR
17     GRAMS, FROM THE DEFENDANT.         A BLACK HANDGUN IS
18     VISIBLE IN THE BUY VIDEO NEXT TO THE
19     METHAMPHETAMINE.
20                  ON MAY 12TH, 2017, THE C.I. PURCHASED
21     $50 WORTH OF HEROIN OR 2/10 OF A GRAM FROM THE
22     DEFENDANT.     THE DEFENDANT HAS A FIREARM IN THE
23     VIDEO AND THE C.I. CAN BE HEARD TELLING HIS
24     HANDLER ABOUT THE GUN ON THE VIDEO.
25                  ON MAY 24TH, 2017, THE C.I. ORDERED
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 1     $200 OF METHAMPHETAMINE, A QUARTER OUNCE AND
 2     EIGHT GRAMS, BY TEXTING THE DEFENDANT'S PHONE.
 3                  WHEN HE GOT TO THE HOUSE, ANOTHER
 4     INDIVIDUAL SOLD THE C.I. THE METHAMPHETAMINE
 5     RATHER THAN THE DEFENDANT.         THIS INDIVIDUAL HAS
 6     SINCE AGREED -- SINCE ENTERED A PLEA OF GUILTY IN
 7     A SEPARATE FEDERAL CASE AND AGREED TO TESTIFY
 8     AGAINST THE DEFENDANT.
 9                  ON JUNE 3RD 2017 --
10                  THE COURT:     JUNE 13TH.
11                  MR. DIMLER:     I'M SORRY, YOUR HONOR?
12                  THE COURT:     I THOUGHT YOU SAID JUNE
13     3RD.
14                  MR. DIMLER:     I MIGHT HAVE.      ON JUNE
15     13TH, 2017, THE C.I. BOUGHT $225 DOLLARS, QUARTER
16     OUNCE, OF METHAMPHETAMINE FROM THE DEFENDANT.
17                  ON JUNE 14TH, 2017, THE TALLADEGA
18     COUNTY DRUG TASK FORCE OBTAINED A SEARCH WARRANT
19     AT 511 LAWRENCE AVENUE BASED ON THE JUNE 13TH,
20     2017 CONTROLLED PURCHASE.         LAW ENFORCEMENT
21     EXECUTED THE WARRANT ON JUNE 16TH, 2017, AND
22     LOCATED GUNS, AMMUNITION, NARCOTICS, IN ADDITION
23     TO DISTRIBUTION IN THE HOUSE AND ON THE DEFENDANT
24     INCLUDE THE FOLLOWING:        A NEW ENGLAND PARDNER SBI
25     .410 SHOTGUN BEHIND THE FRONT DOOR; A LOADED .45
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 1     CALIBER PISTOL CONSISTENT WITH THE GUN SEEN IN
 2     THE BUY VIDEO BEHIND A SPEAKER BOX IN THE LIVING
 3     ROOM; A BAGGIE OF SUSPECTED HEROIN IN THE BACK
 4     BEDROOM UNDER CLOTHES; 45 GRAMS OF SUSPECTED
 5     METHAMPHETAMINE; THREE GRAMS OF HEROIN; FIVE
 6     GRAMS OF CRACK COCAINE; ONE GRAM OF COCAINE; AN
 7     AMOUNT OF MARIJUANA AND OXYCODONE, IN THE
 8     DEFENDANT'S POCKETS, AS WELL AS FENTANYL, CLEAR
 9     BAGGIES, PISTOL MAGAZINE WITH 9MM --
10                  THE COURT:      WAIT ONE SECOND.       AS WELL
11     AS FENTANYL.     SHOULD THAT -- I MEAN, YOU ARE JUST
12     SAYING THAT WAS FOUND; IT WASN'T ON THE
13     DEFENDANT, IN HIS POCKETS, RIGHT?
14                  MR. DIMLER:     I DON'T BELIEVE SO.
15                  THE COURT:     I THINK IT'S FINE TO SAY IT
16     THAT WAY.     DO YOU OBJECT TO THAT, JUST PUTTING IT
17     IN?
18                  MR. THREATT:      I DO NOT, YOUR HONOR.
19                  THE COURT:     AND YOU ARE GOING TO DELETE
20     MARIJUANA AS YOU JUST DID WHEN YOU READ IT TO ME,
21     CORRECT?
22                  MR. DIMLER:     YES --
23                  THE COURT:     WHEN YOU ALL MAKE A
24     CORRECTED COPY.
25                  MR. DIMLER:     YES.
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 1                  THE COURT:     I AM GOING TO ASK THAT YOU
 2     ALL -- AND I LIKE THE DEFENDANT DID IT IN BLUE.
 3     I WOULD RATHER, SINCE YOU ALL HAVE A CLEAN COPY,
 4     TO HAVE HIM SIGN ANOTHER ORIGINAL SINCE I WROTE
 5     ON THE ORIGINAL.
6                   ALL RIGHT.     GO AHEAD.
7                   MR. DIMLER:     CLEAR BAGGIES; PISTOL
8      MAGAZINE WITH 9MM AMMO; A BOX OF 9MM AMMO; .25
9      CALIBER AMMO; 40 CALIBER AMMO; DIGITAL SCALES;
10     AND THREATT'S POWER BILL IN THE LIVING ROOM.              40
11     CALIBER AMMO; MORE .45 CALIBER AMMO; SOME .410
12     SHOTGUN SHELLS; THREE CELL PHONES IN THE LEFT
13     BACK BEDROOM WHERE THREATT HAD SOLD THE DRUGS TO
14     THE CONFIDENTIAL SOURCE.         THREATT WAS THE ONLY
15     PERSON IN THE HOUSE AT THE TIME OF THE SEARCH.
16                  ON JUNE 17TH, 2017, THREATT ENGAGED IN
17     A JAIL TELEPHONE CALL WITH A FEMALE, JESSICA
18     JORDAN.    IN THE CALL, HE DISCUSSED WHAT HE HAD IN
19     HIS POCKETS, IN THE BEDROOM, AND FIREARMS HE HAD
20     IN THE HOUSE.
21                  THE TAURUS .45 CALIBER PISTOL WAS
22     MANUFACTURED IN BRAZIL.        THE NEW ENGLAND .410
23     SHOTGUN MANUFACTURED IN MASSACHUSETTS.             BOTH GUNS
24     FUNCTIONED AND NEITHER GUN WAS STOLEN.             THE
25     TAURUS LOOKS LIKE THE GUN IN THE VIDEO.
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 1                  DEA REPORTS CONFIRM THE NATURE OF THE
 2     SUBSTANCES AS FOLLOWS:        FROM MAY 9TH CONTROLLED
 3     PURCHASE, 2.85 GRAMS OF PURE METH.            FROM THE MAY
 4     12TH CONTROLLED PURCHASE, .192 GRAMS OF HEROIN.
 5     FROM THE MAY 24TH CONTROLLED PURCHASE, 6.6 GRAMS
 6     OF PURE METHAMPHETAMINE.         FROM THE JUNE 13TH
 7     CONTROLLED PURCHASE, 6.64 GRAMS OF PURE
 8     METHAMPHETAMINE.
 9                  FROM THE SEARCH WARRANT, WHICH S.W.
10     REFERS TO THE SEARCH WARRANT OF 6-16-17, EXHIBIT
11     TWO IS 26 GRAMS OF PURE METHAMPHETAMINE.             EXHIBIT
12     THREE, 14.66 GRAMS OF METHAMPHETAMINE WITH 9.68
13     GRAMS OF PURE METHAMPHETAMINE.          EXHIBIT FOUR,
14     21.5 GRAMS OF FENTANYL.        EXHIBIT FIVE, 1.71 GRAMS
15     OF FENTANYL.     EXHIBIT SIX, .375 GRAMS OF
16     AMPHETAMINE.     EXHIBIT SEVEN, 2.46 GRAMS OF CRACK
17     COCAINE.    EXHIBIT EIGHT, .473 GRAMS OF CRACK
18     COCAINE.    EXHIBIT NINE, .44 GRAMS OF COCAINE.
19                  THAT IS ALL, YOUR HONOR.
20                  THE COURT:     ALL RIGHT.     MR. THREATT,
21     YOU HAVE HEARD THE ASSISTANT U.S. ATTORNEY
22     OUTLINE BRIEFLY STARTING WITH THE FACTS HE WOULD
23     EXPECT THE GOVERNMENT TO PROVE IF THE CASE WENT
24     TO TRIAL.     ARE THOSE FACTS CORRECT?
25                  THE DEFENDANT:      YES, MA'AM.
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 1                  THE COURT:     YOU ARE NOT REQUIRED TO
 2     ENTER A PLEA OF GUILTY AND YOU ARE FREE AT THIS
 3     TIME TO WITHDRAW YOUR PLEA OF GUILTY AND REENTER
 4     A NOT GUILTY PLEA.
 5                  HAVE YOU HEARD ANYTHING HERE TODAY THAT
 6     CAUSES YOU TO WANT TO RECONSIDER YOUR DECISION TO
 7     ENTER A PLEA OF GUILTY TO COUNTS ONE, TWO, THREE,
 8     FOUR, FIVE, AND SIX OF THE SUPERSEDING
 9     INDICTMENT?
10                  THE DEFENDANT:      NO, MA'AM.
11                  THE COURT:     DO YOU STILL DESIRE TO
12     ENTER YOUR PLEA OF GUILTY TO THOSE COUNTS?
13                  THE DEFENDANT:      YES, MA'AM.
14                  THE COURT:     THE COURT FINDS YOUR PLEA
15     OF GUILTY IS FREELY AND VOLUNTARILY ENTERED AND
16     THE REQUISITE FACTUAL BASIS FOR YOUR PLEA EXISTS.
17     THE PLEA OF GUILTY IS CONDITIONALLY ACCEPTED BY
18     THE COURT, EXCEPT I FORGOT TO TALK ABOUT A FEW
19     THINGS.
20                  WAIT A SECOND.      LET ME SEE THAT PLEA
21     AGREEMENT AGAIN.
22                  THERE IS NO 5K, RIGHT?
23                  MR. THREATT:      NO, YOUR HONOR.
24                  THE COURT:     THERE IS AN IMPORTANT PART
25     OF THE PLEA AGREEMENT THAT I FORGOT TO GO OVER
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 1     WITH YOU.     BEFORE I CONDITIONALLY ACCEPT YOUR
 2     PLEA -- AND THAT IS ON PAGE EIGHT.            ROMAN NUMERAL
 3     IV, IT'S ENTITLED WAIVER OF RIGHT TO APPEAL AND
 4     POST-CONVICTION RELIEF.
 5                  IN THIS SECTION OF THE PLEA AGREEMENT
 6     YOU ARE GIVING UP IMPORTANT RIGHTS.
 7     SPECIFICALLY, YOU'RE GIVING UP YOUR RIGHT TO
 8     APPEAL YOUR CONVICTION AND YOUR SENTENCE EITHER
 9     BY WAY OF WHAT'S CALLED A HABEAS CORPUS PETITION
10     OR BY WAY OF AN APPEAL, SUBJECT TO ONLY THREE
11     LIMITATIONS.     AND THOSE THREE LIMITATIONS IS IF
12     THE COURT THAT SENTENCES YOU SENTENCES YOU ABOVE
13     THE STATUTORY MAXIMUM SENTENCE -- IF THE COURT OR
14     THE JUDGE WHO SENTENCES YOU SENTENCES YOU ABOVE
15     THE SENTENCING GUIDELINE RANGE, OR IF YOU HAVE
16     ANY KIND OF CLAIM FOR INEFFECTIVE ASSISTANCE OF
17     COUNSEL, IN THOSE THREE INSTANCES YOU WOULD
18     RETAIN THE RIGHT TO APPEAL YOUR CONVICTION AND
19     SENTENCE OR TO CHALLENGE IT BY WAY OF WHAT'S
20     CALLED A HABEAS CORPUS PETITION PURSUANT TO TITLE
21     28 U.S. CODE SECTION 2255.
22                  HAVE YOU DISCUSSED THE RIGHTS THAT YOU
23     ARE GIVING UP IN THIS SECTION OF THE PLEA
24     AGREEMENT WITH YOUR ATTORNEY?
25                  THE DEFENDANT:      YES, MA'AM.
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 1                  THE COURT:     MR. THREATT, ARE YOU
 2     SATISFIED YOUR CLIENT UNDERSTANDS THE RIGHTS HE
 3     IS GIVING UP IN THIS SECTION OF THE PLEA
 4     AGREEMENT?
 5                  MR. THREATT:      I AM, YOUR HONOR.
 6                  THE COURT:      I JUST REALIZED I HAD NOT
 7     DISCUSSED THAT PART WITH YOUR CLIENT.            BUT I DO
 8     CONDITIONALLY NOW ACCEPT YOUR PLEA OF GUILTY TO
 9     COUNTS ONE THROUGH SIX OF THE SUPERSEDING
10     INDICTMENT WITH THE UNDERSTANDING OF WHAT I TOLD
11     YOU AND THE GOVERNMENT AT THE BEGINNING OF THE
12     THIS HEARING.
13                  ANYTHING FURTHER FROM THE UNITED
14     STATES?
15                  MR. DIMLER:      NO, YOUR HONOR.
16                  THE COURT:      ANYTHING FURTHER FOR MR.
17     THREATT?
18                  MR. THREATT:      NO, YOUR HONOR.
19                  THE COURT:      SINCE I HAVE OTHER THINGS
20     TODAY, Y'ALL WILL HAVE TO SAVE THE STEP ONE
21     TUTORIAL FOR ANOTHER TIME.         THANK YOU THOUGH.
22                  MR. DIMLER:     THANK YOU, YOUR HONOR.
23                  MR. THREATT:      THANK YOU, YOUR HONOR.
24                  THE COURT:     BY THE WAY, I THINK SHE HAS
25     IT TENTATIVELY SET -- SHE HASN'T ENTERED AN ORDER
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 1     ON THIS.    JULY 18TH AT 1:30, TENTATIVELY SET FOR
 2     THAT DATE.     BUT SHE WILL ENTER AN ORDER, I AM
 3     SURE.
 4                       (COURT IN RECESS.)
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 1     *************************************************
 2                        C E R T I F I C A T E
 3     *************************************************
 4     IN RE:      USA V. RONTAVUS DEANDRE THREATT
 5     CASE #:     1:18-CR-385-KOB-JEO
 6
 7                  I HEREBY CERTIFY THAT THE FOREGOING
 8     TRANSCRIPT IN THE ABOVE-STYLED CAUSE IS TRUE AND
 9     CORRECT.
10
11     _______________________                 MARCH 11, 2020
12     LINDY M. FULLER, RMR, CRR, CRC
13     FEDERAL OFFICIAL COURT REPORTER
14     HUGO L. BLACK U.S. COURTHOUSE
15     1729 5TH AVENUE NORTH
16     BIRMINGHAM, ALABAMA       35203
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